
COVINGTON, Judge.
In this action to recover property damages brought by Ruby Woolens d/b/a The Green Door Bar &amp; Restaurant, the operator of the business at the premises damaged by *877the accident described in the companion case of Betty Gros Gaudet v. Louisiana Department of Highways, 432 So.2d 867 (La.App. 1 Cir.1982), in which a separate decision has been rendered by us on this date, the trial court awarded plaintiff, Ruby Woolens, the sum of $3,000.00 against Patterson and Edmonson Construction Company and the Estate of Jackson Gaudet.
Our review of the record reveals that the Estate of Jackson Gaudet was not properly before the court below; no pleadings were filed on behalf of the Estate and no preliminary default was entered against it, thus there was no joinder of issue as to this defendant. Accordingly, the judgment against the Estate must be set aside.
For the foregoing reasons and the reasons stated in the companion case of Betty Gros Gaudet v. Louisiana Department of Highways, supra, the judgment appealed herein is amended to read: It is ordered, adjudged and decreed that there be judgment in favor of plaintiff, Ruby Woolens, and against Patterson and Edmonson Construction Company in the full sum of THREE THOUSAND AND NO/100 ($3,000.00) DOLLARS, together with legal interest from date of judgment until paid, and all costs of the proceedings. All costs of this appeal are assessed against Patterson and Edmonson Construction Company.
AMENDED, AND AS AMENDED, AFFIRMED.
